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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             EVANSVILLE DIVISION

 FREEDOM ORDNANCE MFG., INC.,             )
                                          )
                         Plaintiff,       )
                                          )
                      v.                  )              3:16-cv-00243-RLY-MPB
                                          )
 THOMAS E. BRANDON, Director, Bureau of )
 Alcohol Tobacco Firearms and Explosives, )
                                          )
                         Defendant.       )

           ENTRY ON CROSS-MOTIONS FOR SUMMARY JUDGMENT

       Freedom Ordnance Manufacturing, Inc. (“Freedom”) designed an electronic

 firearm accessory—the Electronic Reset Assist Device, or ERAD—that enhances the

 operation of a semi-automatic firearm by allowing the user to fire more rapidly. After

 receiving an ERAD prototype and supporting materials from Freedom, the Bureau of

 Alcohol, Tobacco, Firearms and Explosives (“ATF”) classified the ERAD as a

 “machinegun” under the National Firearms Act. ATF’s classification prevents Freedom

 from manufacturing and selling the ERAD.

       None too pleased with ATF’s classification, Freedom instituted the present action

 against ATF and its Director, Thomas E. Brandon (collectively “ATF”), alleging

 violations of the Administrative Procedure Act (“APA”) and seeking a declaration that its

 device is not a machinegun. Before the court are cross-motions for summary judgment.

 Finding no error with ATF’s classification, the court DENIES Freedom’s Motion for

 Summary Judgment and GRANTS ATF’s Cross-Motion for Summary Judgment.


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 I.     Background

        A.     Statutory Framework

        The Gun Control Act of 1968 (“GCA”), 18 U.S.C. § 921 et seq., regulates the

 licensing and distribution of firearms. See Printz v. United States, 521 U.S. 898, 902

 (1997). The GCA makes it unlawful for any person to transfer or possess a machinegun

 manufactured after May 19, 1986. 18 U.S.C. § 922(o); see also Akins v. United States,

 312 F. App’x 197, 198 (11th Cir. 2009). The GCA incorporates the definition of

 “machinegun” from a separate federal statute: the National Firearms Act (“NFA”), 26

 U.S.C. § 5801 et seq. See 18 U.S.C. § 921(a)(23). The NFA defines a machinegun as:

        any weapon which shoots, is designed to shoot, or can be readily restored to
        shoot, automatically more than one shot, without manual reloading, by a
        single function of the trigger. The term shall also include the frame or
        receiver of any such weapon, any part designed and intended solely and
        exclusively, or combination of parts designed and intended, for use in
        converting a weapon into a machinegun, and any combination of parts from
        which a machinegun can be assembled if such parts are in the possession or
        under the control of a person.

 26 U.S.C. § 5845(b) (emphasis added). Automatically means that the weapon “fires

 repeatedly with a single pull of the trigger.” Staples v. United States, 511 U.S. 600, 602

 n. 1 (1994). “That is, once its trigger is depressed, the weapon will automatically

 continue to fire until its trigger is released or the ammunition is exhausted.” Id. ATF, the

 agency charged with investigating, administering, and enforcing both the GCA and the

 NFA, see 28 C.F.R. § 0.130(a)(1) – (2), has further explained that a device “that is

 designed to attach to a firearm and, when activated by a single pull of the trigger, initiates

 an automatic firing cycle that continues until either the finger is released or the


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 ammunition supply is exhausted, is a machinegun” under the NFA and GCA. (See

 Administrative Record (“A.R.”) at 631 – 632, ATF Rule 2006-2 at 2-3).

        B.     Freedom’s Classification Requests

        Before March of 2016, Freedom submitted its first trigger reset device to ATF for

 classification. 1 (See A.R. at 2 – 4). ATF classified this “trigger reset device” as a

 machinegun. (Id.).

        As a result, Freedom redesigned the trigger reset device and developed the ERAD.

 (Id. at 1). In April of 2016, Freedom submitted the ERAD to ATF seeking confirmation

 that the ERAD was not a machinegun. (Id.). In September of 2016, Freedom submitted a

 supplemental letter (“Supplemental Letter”) which expanded on Freedom’s position. (Id.

 at 18 – 24). In the Supplemental Letter, Freedom explained that the ERAD is composed

 of a transfer bar (or the trigger finger reset bar), an electric motor, and an electric switch.

 (Id. at 20 – 21). As the user engages the electric switch and the trigger finger reset bar,

 the motor activates, separating the trigger of the firearm from the trigger finger reset bar.

 (See id. at 21). As further opined by Freedom in its Supplemental letter, the ERAD is not

 a machinegun because the trigger finger reset bar cannot apply rearward tension, and as a

 result, the ERAD can only fire one shot per single pull of the trigger. (Id.).

        C.     ATF’s Classification Decision


 1
  The ATF encourages manufacturers to seek an ATF classification of product prior to
 manufacture in order to avoid unnecessary expense. Sig Sauer, Inc. v. Jones, 133 F.Supp.3d 364,
 367 n. 2 (D. N.H. 2015) (citing Bureau of Alcohol, Tobacco, Firearms and Explosives, National
 Firearms Act Handbook (“ATF Handbook”) 7.2.4 (2009), available at
 https://www.atf.gov/firearms/national-firearms-act-handbook), aff’d sub nom. Sig Sauer, Inc. v.
 Brandon, 826 F.3d 598, 606 (1st Cir. 2016).
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        On October 27, 2016, ATF sent Freedom a thirteen-page letter in which ATF

 ultimately concluded that the ERAD was a machinegun under the NFA. (Id. at 70 – 82).

 ATF classified the trigger finger reset bar as the “primary trigger” and the existing

 firearm trigger as the “secondary trigger,” and explained that the firearm’s existing

 trigger “merely becomes a part of the firing sequence, but does not initiate firing when

 the E-RAD is installed.” (Id. at 71) (emphasis omitted). ATF explained that when the

 grip button (or “electric switch” according to Freedom) is depressed and constant

 pressure is applied to the primary trigger, the hammer is released and a shot is fired. (Id.

 at 72). Immediately after, the disconnector catches the hammer preventing hammer

 follow. 2 (Id. at 77). In a firearm without the ERAD installed, the hammer will reset only

 when the user actually releases pressure on the trigger. (Id.). However, in firearms with

 the ERAD installed, the hammer is reset by the electric motor, obviating the need for the

 user to release the trigger. (Id. at 78). As a result, the user never has to release the

 primary trigger and can fire subsequent shots by applying a constant pull. (Id.). ATF

 reasoned that “[a] single pull of the trigger by the shooter therefore starts a firing

 sequence in which semiautomatic operation is made automatic by an electric motor.” (Id.

 at 79) (emphasis in original). Therefore, ATF classified the ERAD as a combination of

 parts designed and intended solely and exclusively for use in converting a weapon into a

 machinegun, and thus, a “machinegun” under the NFA. (Id. at 81).




 2
  “Hammer follow” refers to the process where the hammer moves forward again causing a
 second shot to be fired without an additional pull of the trigger. (Id. at 77).
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        On December 13, 2016, Freedom filed the present Complaint against ATF

 challenging its classification of the ERAD as a machinegun. (Filing No. 1). On June 2,

 2017, Freedom moved for summary judgment, and on July 27, 2017, ATF filed a Cross-

 Motion for summary judgment. (Filing Nos. 23 and 27). 3 Having been fully briefed, the

 matter is now ripe for a decision.

 II.    Standard of Review

        Freedom’s challenge to ATF’s determination requires the court to apply two

 distinct but potentially overlapping standards of review under the APA. See Fox v.

 Clinton, 684 F.3d 67, 74 – 76 (D.C. Cir. 2012). First, the court must determine how

 much deference ATF’s interpretation of the NFA warrants. Second, the court must

 determine whether ATF’s decision was arbitrary, capricious, an abuse of discretion, or

 otherwise not in accordance with law. 5 U.S.C. § 706(2)(A); see also Fox, 684 F.3d at

 74 – 77 (discussing and then applying two standards of review: one with respect to the

 agency’s interpretation of the statute, and one with respect to the agency’s ultimate denial

 of appellant’s request); see also Innovator Enterprises, Inc. v. Jones, 28 F.Supp.3d 14, 21

 – 24 (D. D.C. 2014) (determining whether classification letter was entitled to Chevron

 deference and then determining whether ultimate action was arbitrary and capricious).




 3
   Freedom also filed a Motion for Oral Argument in the present matter. The administrative
 record, however, is thorough, and the issues in this case have been sufficiently briefed. Since
 oral argument will not assist the court, Freedom’s motion is denied. See Hill v. Porter Memorial
 Hosp., 90 F.3d 220, 224 (7th Cir. 1996) (citing Fed. R. Civ. P. 78); see also S.D. IND. L.R. 7-
 5(d).
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        A.     Agency’s Interpretation of a Statute

        Courts ordinarily defer to an agency’s interpretation of a statute that it is entrusted

 to administer. Chevron, U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467

 U.S. 837, 844 (1984). When applying Chevron deference, a court will generally uphold

 an agency’s interpretation of a statute if the statute at issue is ambiguous and the agency’s

 interpretation is reasonable. Christensen v. Harris Cty., 529 U.S. 576, 586 – 87 (2000).

        An agency interpretation qualifies for Chevron deference (a determination

 sometimes referred to as the Chevron “step-zero” determination) when “it appears that

 Congress delegated authority to the agency generally to make rules carrying the force of

 law, and that the agency interpretation claiming deference was promulgated in the

 exercise of that authority.” United States v. Mead Corp., 533 U.S. 218, 226 – 27 (2001);

 see also Brumfield v. City of Chicago, 735 F.3d 619, 625 – 26 (7th Cir. 2013). This

 requires the court to consider “the interstitial nature of the legal question, the related

 expertise of the [a]gency, the importance of the question to administration of the statute,

 the complexity of that administration, and the careful consideration the [a]gency has

 given the question over a long period of time . . . .” Barnhart v. Walton, 535 U.S. 212,

 222 (2002).

        However, not all agency interpretations are entitled to Chevron deference. Some

 are only entitled to Skidmore deference, which refers to a lesser amount of deference that

 is determined by the persuasiveness of the agency’s reasoning in relation to the nature of

 the issue. See Krzalic v. Republic Title Co., 314 F.3d 875, 878 (7th Cir. 2002) (citing

 Skidmore v. Swift & Co., 323 U.S. 134, 140 (1944)). Under Skidmore, the court defers to

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 the agency’s interpretation but only to the extent that the interpretation has the “‘power to

 persuade.’” Christensen, 529 U.S. at 587 (quoting Skidmore, 323 U.S. at 140); see also

 White v. Scibana, 390 F.3d 997, 1000 (7th Cir. 2004) (“[S]ome [agency interpretations]

 are treated as persuasive only, based upon the form, content, circumstances, and reflected

 expertise of the interpretation.”) (citation omitted).

        B.     Agency’s Decision under the APA

        When reviewing a decision of an administrative agency, the typical Rule 56

 summary judgment standard does not apply. Instead, the district court assumes the role

 of a reviewing court. Cronin v. United States Dep’t of Agric., 919 F.2d 439, 443 (7th Cir.

 1990). The district court is typically confined to review the administrative record already

 in existence, and “[t]he task of the reviewing court is to apply the appropriate APA

 standard of review, 5 U.S.C. § 706, to the agency decision based on the record the agency

 presents to the reviewing court.” Florida Power & Light Co. v. Lorion, 470 U.S. 729,

 743 – 744 (1985) (citing Citizens to Preserve Overton Park v. Volpe, 401 U.S. 402

 (1971)). Under the APA, a court may hold unlawful and set aside agency decisions that

 are arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.

 5 U.S.C. § 706(2)(A).

        “The scope of review under the ‘arbitrary and capricious’ standard is narrow and a

 court is not to substitute its judgment for that of the agency.” Motor Vehicle Mfrs. Ass’n

 of United States, Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). This

 highly deferential standard means that the court must uphold the agency’s determination,

 even if it otherwise disagrees, so long as the agency considered all of the relevant factors

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 and there is a rational basis for the agency’s conclusion. Israel v. United States Dep’t of

 Agric., 282 F.3d 521, 526 (7th Cir. 2002). The deck is further stacked against plaintiffs

 where the agency findings involve scientific or technical determinations “since these

 findings are presumed to be the product of agency expertise.” Franks v. Salazar, 816

 F.Supp.2d 49, 55 (D. D.C. 2011) (citing Baltimore Gas & Elec. Co. v. Natural Resources

 Defense Council, Inc., 462 U.S. 87, 103 (1983)); see also Marsh v. Oregon Natural

 Resources Council, 490 U.S. 360, 377 (1989). “In such cases, the court ‘must look at the

 decision not as the chemist, biologist or statistician that it is qualified neither by training

 nor experience to be, but as a reviewing court exercising its narrowly defined duty of

 holding agencies to certain minimum standards of rationality.’” Franks, 816 F.Supp.2d

 at 55 (quoting Ethyl Corp. v. EPA, 541 F.2d 1, 36 (D.C. Cir. 1976) (en banc)). 4

        However, “deference does not mean obeisance.” Sierra Club v. Marita, 46 F.3d

 606, 619 (7th Cir. 1995). In reviewing the agency’s determination, the court must pay

 careful attention to whether the agency based its consideration on relevant factors and

 determine whether there has been a clear error of judgment. Motor Vehicle Mfrs. Ass’n,

 463 U.S. at 43.




 4
   Contrary to Freedom’s assertions, the issues before the court involve, at least, some technical
 expertise. The ERAD is comprised of an electric motor, primary trigger, battery power camming
 lobe designed to interact with the primary trigger, 9-volt batteries, and grip panels. (A.R. at 71).
 In classifying the ERAD, ATF was required to consider the interaction of the ERAD’s
 components and the firearm’s trigger, hammer, disconnector, and trigger sear surface. (A.R. at
 74 –75).
                                                  8
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 III.   Discussion

        Freedom argues that ATF misapplied federal law and its own longstanding

 interpretation of the NFA by classifying the ERAD as a machinegun. Specifically,

 Freedom asserts that the ERAD does not enable a firearm to fire more than one shot by

 single function of the trigger, and thus, cannot be a machinegun. Freedom requests the

 court set aside ATF’s classification as arbitrary and capricious. 5

        A.     Skidmore Deference is Appropriate

        The parties dispute how much deference the court must give to ATF’s

 interpretation of the NFA within the October 27, 2016 classification letter. Freedom

 argues that it is only entitled to limited deference because the letter is an informal ruling.

 See Innovator Enterprises, Inc., 28 F.Supp.3d at 22 – 24 (applying Skidmore deference to

 ATF classification letter). On the other hand, ATF argues that its interpretation is entitled

 to Chevron deference because ATF is charged with administering the GCA and NFA, and

 the classification of the ERAD reflects ATF’s technical expertise. E.g. Modern

 Muzzleloading, Inc. v. Magaw, 18 F.Supp.2d 29, 36 (D. D.C. 1998) (applying Chevron

 deference to ATF classification of rifle).

        Neither side presents an entirely infallible position. With respect to Freedom’s

 position, the fact that an agency’s interpretation is informal, alone, does not necessarily




 5
   In its Motion for Summary Judgment, Freedom attached several exhibits in support of its
 motion. However, when reviewing the decision of an agency under the APA, the court reviews
 the administrative record that was before the agency at the time of the decision. See Florida
 Power & Light Co., 470 U.S. at 743; see also Overton Park, 401 U.S. at 419 – 420. The court
 therefore does not consider these exhibits.
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  mean Chevron is inapplicable. Mead, 533 U.S. at 231 (“The fact that the tariff

  classification here was not a product of such formal process does not alone, therefore, bar

  the application of Chevron.”). Moreover, the case on which Freedom relies—Innovator

  Enterprises, Inc.—concerned an ATF classification letter that was “just over a page long”

  and evidenced an “extremely light consideration” of the question at issue. 28 F.Supp.3d

  at 23. In the present case, ATF’s classification letter was 13 pages and contained a much

  more thorough analysis.

         ATF’s position that Chevron applies is likewise inconclusive. It is not clear that

  ATF’s informal classification letters are promulgated in the exercise of its authority to

  investigate, administer, and enforce the NFA and GCA. 6 ATF’s interpretation was not a

  product of notice-and-comment rulemaking or a formal adjudication. Krzalic, 314 F.3d

  at 879 (“‘[L]egislative rules and formal adjudications are always entitled to Chevron

  deference, while less formal pronouncements like interpretative rules and informal

  adjudications may or may not be entitled to Chevron deference.”’) (quoting Richard J.

  Pierce, Jr., Administrative Law Treatise § 3.5, pp. 6 – 7 (4th ed. Supp.2003)). Even

  though it appears ATF has consistently promulgated rules regarding the application of its

  classification standards, the court is not being asked to defer to an interpretation in one of

  its rules, it is being asked to defer to an interpretation in one of its informal classification




  6
    Congress delegated authority to the Attorney General to make rules and regulations concerning
  the GCA, see 18 U.S.C. § 926, and the Attorney General, in turn, delegated its authority to
  investigate, administer, and enforce the NFA and GCA to ATF. See 28 C.F.R. § 0.130(a)(1) –
  (2).
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  letters which only appear to bind ATF and the party who submitted the request. 7 See

  Mead, 533 U.S. at 233 (applying Skidmore deference to tariff classification letters, in

  part, because the letter did not bind third parties).

         ATF’s position is further weakened by the lack of consensus among courts

  regarding the level of deference owed to these classification letters. United States v. One

  TRW, Model M14, 7.62 Caliber Rifle, 294 F.Supp.2d 896, 900 (E.D. Ky. 2003) (“The

  authority is inconsistent on the question of whether ATF firearm classifications enjoy full

  Chevron deference”). Moreover, even if the court does not apply Chevron, the court can

  still defer to ATF’s expertise under Skidmore. Mead, 533 U.S. at 234 – 35.

         Ultimately, the Chevron determination in the present case is a difficult one. It is

  compounded by the fact that the Chevron “step-zero” standard is rather unclear. See

  Gutierrez-Brizuela v. Lynch, 834 F.3d 1142, 1157 (10th Cir. 2016) (Gorsuch, J.

  concurring) (“Neither, respectfully, does looking to the Supreme Court’s case law supply

  a great deal of guidance on how to apply Mead’s balancing test.”). ATF’s classification

  letters seem to fall into the “outer limits of the universe of less formal agency

  interpretations that might qualify” for Chevron deference that neither the Supreme Court

  nor the Seventh Circuit have fully defined. Scibana, 390 F.3d at 1000. Because of this

  uncertainty, coupled with the fact that the court ultimately finds that the level of

  deference makes no difference to the outcome in this case, the court “need not penetrate



  7
   ATF’s Handbook explains that “ATF letter rulings classifying firearms may generally be relied
  upon by their recipients as the agency’s official position concerning the status of the firearms
  under Federal firearms laws.” ATF Handbook 7.2.4.1 (emphasis added).
                                                 11
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  more deeply into this thicket.” Krzalic, 314 F.3d at 879. Accordingly, the court will

  assume, without deciding, that the level of deference most favorable to Freedom—

  Skidmore—applies, and consider ATF’s interpretation espoused in the classification letter

  only to the extent that it has the power to persuade. See Mead, 533 U.S. at 234 – 35.

         B.     ATF’s Classification of the ERAD is not Arbitrary or Capricious

         ATF’s thirteen-page classification letter is well-reasoned and thorough. ATF

  explained that once a user pulls the ERAD trigger, the firearm fires continuously until

  either the user releases the ERAD trigger or the firearm exhausts the ammunition supply.

  (A.R. at 79). In firearms without the ERAD installed, the user can only reset the hammer

  by actually releasing pressure on the trigger; however, in firearms with the ERAD

  installed, the hammer is reset automatically by the electric motor, resulting in the user

  never having to release the ERAD trigger. (Id. at 77 – 78). Ultimately, ATF considered

  the relevant factors and rationally concluded that the ERAD was a machinegun because it

  enabled a user to fire more than one shot by single function of the trigger. (Id. at 79).

         ATF’s classification of the ERAD is consistent with its own rules, see id. at 630 –

  32, ATF Rule 2006-2 at 1 – 3, and with case law, see Staples, 511 U.S. at 602 n. 1; see

  also Akins, 312 F. App’x. at 200 (accessory was properly classified as a machinegun

  where after a single application of the trigger, the device used an internal spring and the

  force of recoil to perpetuate a continuous firing sequence).

         Freedom argues that ATF misapplied the “single function of the trigger” definition

  by making a “novel and irrelevant” distinction between the ERAD (primary) trigger and

  the firearm (secondary) trigger. (See Filing No. 24, Freedom’s Brief in Support of its

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  Motion for Summary Judgment at 9). Essentially, Freedom’s position is that the ERAD

  does not enable the user to fire more than one shot per single function of the firearm’s

  trigger because the firearm’s trigger must reset before each shot, notwithstanding the

  user’s constant pull of the ERAD trigger. However, ATF explained that when the ERAD

  is installed, the firearm’s trigger no longer initiates firing and merely becomes part of the

  firing sequence. (A.R. at 71). Thus, ATF defined the ERAD trigger, not the firearm’s

  trigger, as the relevant “trigger” for purposes of evaluating whether more than one shot

  was fired per single function of the trigger under the NFA. This determination was well

  within ATF’s expertise, and their decision is entitled to deference. See Modern

  Muzzleloading, Inc., 18 F.Supp.2d at 37.

         Moreover, ATF’s determination is consistent with the law of this circuit. See

  United States v. Fleischli, 305 F.3d 643, 655 (7th Cir. 2002) (holding a trigger is a

  mechanism used to initiate a firing sequence) (superseded by statute on other grounds). In

  Fleischli, the defendant was convicted of two counts of possession of machineguns. Id.

  at 647. On appeal, he argued that his convictions were insufficient because the minigun

  he possessed did not have a trigger, and so it could not fire automatically more than one

  shot by a single function of the trigger. See id. at 654. The Seventh Circuit rejected his

  position, holding that a trigger is a “mechanism used to initiate a firing sequence.” Id. at

  655. In the present case, ATF’s defining of the ERAD trigger as the primary trigger is

  squarely supported by Fleischli, because the ERAD trigger is the mechanism used to

  initiate the firing sequence. (A.R. at 71).



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         Freedom also argues that the ERAD was misclassified because it is no different

  from devices that ATF has previously classified as not being a machinegun. (See Filing

  No. 24-1, Ex. A (bump fire stock device); No. 24-2, Ex. B (3MR Trigger); Filing No. 24-

  3, Ex. C (ALM stock)). 8 But Freedom runs into several problems here. First, the 3MR

  Trigger and the ALM stock classification letters are not a part of the administrative

  record, and so, the court may not consider them. See Camp v. Pitts, 411 U.S. 138, 142

  (1973) (noting that the focal point of judicial review should be the administrative record

  in existence). Though Freedom argues that they should have been a part of the record,

  Freedom has not moved to supplement the record. See e.g. Independent Turtle Farmers

  of Louisiana, Inc. v. United States, 703 F.Supp.2d 604, 611 – 13 (W.D. La. 2010)

  (granting, in part, motion to supplement an inadequate administrative record). 9

         Second, the bump fire device classification letter as well as the video depicting a

  bump fire device (which are in the administrative record) show that bump fire devices

  operate differently than the ERAD. (See A.R. at 47, 332 – 33). Unlike the ERAD, bump

  firing requires the user to apply both forward and rearward pressure to the firearm. (See



  8
    It is worth noting that ATF’s classification letter in the present case spanned thirteen pages
  whereas none of the other classification letters of the alleged similar devices exceeded three
  pages.
  9
    Freedom argues that the court ought to consider the ATF classification letters notwithstanding
  their absence in the administrative record because consideration of the letters is necessary for
  effective judicial review and should have been considered by ATF, citing to the exceptions
  established in Overton Park. See Overton Park, 401 U.S. at 415. But those exceptions concern
  the standard of review and Freedom has already explained that arbitrary and capricious review is
  appropriate (as opposed to de novo review). (Freedom’s Brief in Support at 6 – 7; Filing No. 32,
  Freedom’s Reply at 1). Freedom’s position aside, the exceptions do not apply because ATF’s
  factual findings are not inadequate, and this is not a proceeding to enforce a nonadjudicatory
  action. Overton Park, 401 U.S. at 415.
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  id.). Additionally, the user’s trigger finger is separated from the trigger due to the recoil

  of the firearm between each shot whereas with the ERAD, the user never has to release

  the ERAD trigger. (See id.). Bump fire devices also do not contain multiple triggers, and

  so ATF’s primary-secondary trigger classification rationale—the critical point of

  contention between Freedom and ATF—simply does not apply to bump fire devices.

         It is true that ATF did not compare or distinguish bump fire devices in the ERAD

  classification letter. But it was not required to. Classification letters—for which there is

  no requirement in the law for manufacturers to seek—are informal adjudications rather

  than rules issued through rulemaking, and so they are not precedent. 10 See Porter &

  Dietsch, Inc. v. F.T.C., 605 F.2d 294, 307 n. 17 (7th Cir. 1979) (“Agency adjudications

  do not create industry-wide standards as rulemaking does.”); see also Neustar, Inc. v.

  F.C.C., 857 F.3d 886, 893 (D.C. Cir. 2017) (discussing informal adjudications and

  rulemaking). While the court would have a more complete picture had ATF explained

  the differences between the devices, under arbitrary and capricious review, the court is

  tasked with reviewing what the agency actually did as opposed to what it could have

  done. Here, ATF supplied a sufficient rationale, connecting the facts and the ultimate

  decision to classify the ERAD as a machinegun. Any omission of a comparison between

  the bump fire devices and the ERAD does not prevent the court from reasonably tracing

  ATF’s rationale. See Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43 (noting a court will


  10
    The APA does not use the term “informal adjudication.” However, it is understood as a
  residual catch-all for agency actions that are not a product of rulemaking or on the record
  hearings. United States v. An Article of Device . . . Diapulse, 768 F.2d 826, 829 n. 4 (7th Cir.
  1985).
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  uphold an agency decision of less than ideal clarity so long as the agency’s path may be

  reasonably discerned). 11

  IV.    Conclusion

         ATF concluded that the ERAD satisfied the definition of “machinegun” under the

  NFA because it enabled a user, by a single pull of the trigger, to initiate an automatic

  firing sequence that continues until either the user releases the trigger or the firearm runs

  out of ammunition. This conclusion was rationally supported and was not otherwise

  arbitrary or capricious.

         Accordingly, Freedom’s Motion for Summary Judgment (Filing No. 23) is

  DENIED, and ATF’s Cross-Motion for Summary Judgment (Filing No. 27) is

  GRANTED. Freedom’s Motion for Oral Argument (Filing No. 25) is also DENIED.

  SO ORDERED this 27th day of March 2018.




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     To be sure, the court cannot turn a blind eye to an agency’s blatantly inconsistent application
  of its own rules. See United States v. Diapulse Corp. of America, 748 F.2d 56, 62 (2nd Cir.
  1984) (agency cannot grant a right to one person that it denies another similarly situated). It is
  curious that ATF classified the bump fire device depicted in the video as not being a machinegun
  despite its high fire rate. (See A.R. at 47). Even with that in mind, however, the court cannot say
  that a blatant inconsistent application occurred here. Firing rate is but one factor ATF considers,
  and the bump fire devices are different from the ERAD in both mechanics and function. (See id.
  at 47, 333). Furthermore, as already explained, ATF’s decision stands on its own: ATF fully
  considered the relevant aspects of the ERAD as well as the overall firing rate. Its classification is
  well-supported, even with this apparent inconsistency.
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